Exhibit

Ey 2

Case 3:23-cv-00340 Document 56-23 Filed 03/13/24 Page 1 of 3 PagelD #: 900

Denison, Bryan - Bowling Green, KY

From:
Sent:
To:
Cc:

Subject:

Trhankea, Jenny.
Mitch Whittle

Mitchell W. Whittle
Farm Loan Chi

USDA, Farm S
771 Corporate Drive,
Lexington, KY 40503
Phone (859) 224-7440

nee Original Message-----
From: Breece, Jenny ~ Washington, DC

whittle, mitchell - Lexington, KY

Monday, March 09, 2009 12:26 PM

Breece, Jenny - Washington, DC

finch, robert - Lexington, KY; Hoskins, John - Lexington, KY; Hunt, Debra - Lexington, KY;
Denison, Bryan - Bowling Green, KY; Dunn, Donald - Franklin, KY

RE: RE: Discrimination Complaint - Corey Lea

i
Service Agency

Suite #100

Sent: Monday, March 69, 20059 1:23 PM

Tot whittle, mitchell

~ Lexington, KY

Co: Halil, Veldon - Washington, DC
Subject: RE: Discrimination Complaint - Corey Lea

The OF fice of Advocacy and Compliance (OAC) has confirmed that Corey Lea has an
outstanding civil cights complaint. The complaint was accepted on Pebruary 18, 2009,

In accordance with i-FLP, subparagraph 41 G, you are NOT authorized to proceed with

acceleration and/or
serviced as directed

foreclosure of this account. Please ensure that the account is

by 1-FLP, subparagraph 41 G and in FLP Notice 523,

If yeu have any questions please contact Jenny Breece at} |

j

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2023-FSA-04037-FP Lea 70
USDA

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momen Hf |
United States March 3, 2010 [| MAR ~ 3 2010 |
Department of _ J]
Agriculture WARREN-EDMONSON FSA
Farmand Foreign = ‘T'(): Farm Loan Manager, FSA PE TEAM =
Agricultural —

Bowling Green KY

Services

Farm Service Agency

971 Carporate Dr. a oo .
Suite 100 LE yo td co. ACF a
Lexington KY . :

fO503 FROM: Mitchell Ww. Whittle

Farm Loan Chief, FSA

Telephone:
859.224.7601

Fax: 859.224.7691 SUBJECT: Corey Lea, Inc.
Guaranteed Loan Estimated Loss Claims

Website at: : ‘ . : ' :
cbse at The estimated loss claim on loan #50 was processed in GLS today reflecting a zero loss claim

wow. [sa.usda gor /ky

at this time. Please keep this office informed of the liquidation process.

The case file along with the original Estimated Loss Claim form and GLS processing
screens are being retained in this office. A copy of the loss claim form and GLS screens are
enclosed for your information. You should provide the lender with a copy of the approved
forms.

Any questions should be addressed to Debra Hunt, Farm Loan Specialist, at

Enclosures

Cc; Donald Dunn
District Director, FSA

FSA

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